8:05-cr-00163-LSC-TDT         Doc # 476      Filed: 08/29/14     Page 1 of 1 - Page ID # 1088




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                  8:05CR163
       vs.                                      )
                                                )                    ORDER
JAZMIN CERNA,                                   )
                                                )
                      Defendant.                )
       Defendant Jazmin Cerna (Cerna) appeared before the court on August 29, 2014, on the
Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 463).
Cerna was represented by Assistant Federal Public Defender Richard H. Williams and the
United States was represented by Assistant U.S. Attorney Russell X. Mayer. Through her
counsel, Cerna waived her right to a probable cause hearing on the Petition pursuant to Fed.
R. Crim. P. 32.1(a)(1). I find that the Petition alleges probable cause and that Cerna should
be held to answer for a final dispositional hearing before Chief Judge Laurie Smith Camp.
       The government moved for detention. Cerna declined to present any evidence or
request a detention hearing. Since it is Cerna’s burden under 18 U.S.C. § 3143 to establish
by clear and convincing evidence that she is neither a flight risk nor a danger to the community,
the court finds Cerna has failed to carry her burden and that Cerna should be detained pending
a dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp
in Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, at 9:30 a.m. on October 30, 2014. Defendant must be present in person.
       2.      Defendant Jazmin Cerna is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
       3.      Defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.
       DATED this 29th day of August, 2014.

                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
